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  8                         UNITED STATES DISTRICT COURT
  9                        CENTRAL DISTRICT OF CALIFORNIA

 10                                         Case No. 2:18-cv-03605-AB-FFM
      THOMAS J. BAGGALEY, JR.,
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                  Plaintiff,                ORDER GRANTING DISMISSAL OF
 12                                         DEFENDANT WELLS FARGO
      vs.                                   BANK, N.A. WITH PREJUDICE
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      WELLS FARGO BANK, N.A.,
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                 Defendant.
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             On April 12, 2019, Plaintiff Thomas J. Baggaley, Jr. and Defendant Wells Fargo
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      Bank, N.A. filed a Notice of Settlement. (Dkt. No. 29.) The Court issued an Order on April
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      16, 2019 dismissing the action without costs and without prejudice to the right, upon good
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      cause shown within 60 days, to reopen the action if settlement is consummated. (Dkt. No.
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      30.) Shortly thereafter, the parties filed a Stipulation for Dismissal with Prejudice, pursuant
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      to Federal Rule of Civil Procedure 41(a)(ii). (Dkt. No. 33.)
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             Pursuant to the parties’ stipulation, the above-entitled matter is hereby dismissed in
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      its entirety, with prejudice, with the parties to bear their own costs and attorneys’ fees.
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      IT IS SO ORDERED.
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 12   Dated: May 28, 2019
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                                                      __________________________
 14                                                   HON. JUDGE ANDRÉ BIROTTE JR.
                                                      United States District Judge
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